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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

Wisconsin Voters Alliance, et al.,                                    Case No. ________

                             Plaintiffs,
v.

Vice President Michael Richard Pence, et al.,

                           Defendants.


      Plaintiffs’ Memorandum in Support of Motion for Preliminary Injunctive Relief
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                                           INTRODUCTION

          The Plaintiffs move for a preliminary injunction enjoining the federal Defendants and state

Defendants from Pennsylvania, Michigan, Wisconsin, Georgia and Arizona (Defendant States) from

certifying Presidential electors and counting their votes where the Presidential electors did not

receive state legislative post-election certification as required by Article II.

          Article II contains an imperative sentence regarding Presidential elections that state

legislatures, every four years, may direct the manner of state appointment of Presidential electors:

          He shall hold his office during the term of four years, and, together with the Vice
          President, chosen for the same term, be elected, as follows: Each state shall appoint,
          in such manner as the Legislature thereof may direct, a number of electors, equal to
          the whole number of Senators and Representatives to which the State may be entitled
          in the Congress: but no Senator or Representative, or person holding an office of trust
          or profit under the United States, shall be appointed an elector.

Specifically, the challenged federal and state laws1 requiring Governor post-election certification of

Presidential electors, currently considered as having full legal force and effect, have the legal

consequence that the state legislatures, every four years, “may” NOT “direct” the “manner” of

“appointing” the Presidential electors. Under this one constitutional imperative sentence, the state

legislatures, not the Governors, have the constitutional prerogative to post-election certification.

Absent the state legislative post-election certification of the Presidential electors, the federal

Defendants cannot constitutionally count the votes of the Presidential electors from the Defendant

States.

          The Plaintiffs are voters who have constitutionally-protected voting rights to state legislative

post-election certification regarding their votes for Presidential electors and constitutionally-

protected voting rights that only the votes of Presidential electors who have received state legislative




1
 3 U.S.C. § 5, 6 and 15 and Ariz. Rev. Stat. § 16-212 (B), Ga. Code Ann.§ 21-2-499 (B), Mich.
Comp. Laws § 168.46, Wis. Stat. § 7.70 (5) (b) and 25 Pa. Cons. Stat. § 3166.


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post-election certification be counted by the federal Defendants to elect the President and Vice

President.

        A preliminary injunction is necessary to avoid a constitutional crisis. The constitutional crisis

may be caused, after the January 20, 2021 inauguration of the President and Vice President, by a

Presidential candidate or Presidential electors filing a post-inaugural civil action for writ of quo

warranto to oust the President and Vice President.2 The U.S. District Court has jurisdiction over a

post-inaugural ouster of the United States President and Vice President. Specifically, D.C. Code §

16-3501, et seq., authorizes the U.S. District Court for the District of Columbia, in proper cases,

instituted by proper officers or persons, to post-inaugural ouster of national officers of the United

States including the President and Vice President of the United States. Newman v. U.S. of America ex

rel Frizzell, 238 U.S. 537 (1915).

        The Presidential candidate or Presidential electors could make two constitutional arguments

against the votes the federal Defendants counted in the election of President and Vice President.

First, U.S.C. § 5, 6 and 15 are unconstitutional because Congress does not have constitutional

authority to assign post-election certification to the Governors as executives of the Defendant States

and to direct Congress and the Vice President to count votes of Presidential electors who have not

received state legislative post-election certification. Second, the Defendant States’ state legislatures

have unconstitutionally acquiesced to the federal laws by enacting state laws transferring post-

election certification from the state legislatures to state executive branch officials: Ariz. Rev. Stat. §

16-212 (B) (Arizona Secretary of State), Ga. Code Ann.§ 21-2-499 (B) (Georgia Secretary of State

and Governor), Mich. Comp. Laws § 168.46 (Michigan State Board of Canvassers and Governor),




2
  The Epoch Times, “Electors in 7 states cast dueling votes for Trump” at
https://www.theepochtimes.com/mkt_app/electors-in-7-states-cast-dueling-votes-for-
trump_3620059.html (last visited: Dec. 18, 2020).


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Wis. Stat. § 7.70 (5) (b) (Wisconsin Elections Commission); and 25 Pa. Cons. Stat. § 3166 (Secretary

of Commonwealth and Governor).

        The Plaintiffs agree with these constitutional arguments, but disagree about the wisdom of

using the post-inaugural ouster procedure to litigate them. Waiting for the post-inaugural ouster

creates an unnecessary constitutional crisis. Instead, the post-inaugural ouster should be the option

of last resort.

        Plaintiffs’ motion for preliminary injunction is a better vehicle for this Court to adjudicate

these constitutional claims in a timely way so that the constitutional provisions of the U.S.

Constitution regarding Presidential electors, Article II and the Twelfth Amendment, are followed

and a President and a Vice President are lawfully inaugurated on January 20, 2021.

                                            BACKGROUND

A.      Defendants, except the constitutionally-required state legislatures, are involved in
        post-election certification of Presidential votes and of Presidential electors or counting
        of their ballots to elect the President and Vice President.

        Under 3 U.S.C. §§ 5, 6 and 15, each of the Defendants, except the state legislative leaders

and their state legislatures, have a role to play in state post-election certification of Presidential votes,

state post-election certification of a state’s Presidential electors or counting of the Presidential

Electors’ votes. Under 3 U.S.C. § 15, “Congress shall be in session on the sixth day of January

succeeding every meeting of electors. The Senate and House of Representatives shall meet in the

Hall of the House of Representatives at the hour of 1 o’clock in the afternoon on that day.” Under 3

U.S.C. § 15, Vice President Michael Richard Pence is the presiding officer on January 6, 2021: “and

the President of the Senate shall be their presiding officer.”

        Vice President Pence, the U.S. Senate and the U.S. House of Representatives are Defendants

who presume under 3 U.S.C. §§ 5 and 6, that each state’s Presidential elector votes can be counted




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because they are designated by the Governor of each Defendant State —even without state

legislative post-election certification. 3 U.S.C. § 5 provides:

        If any State shall have provided, by laws enacted prior to the day fixed for the
        appointment of the electors, for its final determination of any controversy or contest
        concerning the appointment of all or any of the electors of such State, by judicial or
        other methods or procedures, and such determination shall have been made at least
        six days before the time fixed for the meeting of the electors, such determination made
        pursuant to such law so existing on said day, and made at least six days prior to said
        time of meeting of the electors, shall be conclusive, and shall govern in the counting
        of the electoral votes as provided in the Constitution, and as hereinafter regulated, so
        far as the ascertainment of the electors appointed by such State is concerned.

3 U.S.C. § 6 provides:

        It shall be the duty of the executive of each State, as soon as practicable after the
        conclusion of the appointment of the electors in such State by the final ascertainment,
        under and in pursuance of the laws of such State providing for such ascertainment, to
        communicate by registered mail under the seal of the State to the Archivist of the
        United States a certificate of such ascertainment of the electors appointed, setting
        forth the names of such electors and the canvass or other ascertainment under the
        laws of such State of the number of votes given or cast for each person for whose
        appointment any and all votes have been given or cast; and it shall also thereupon be
        the duty of the executive of each State to deliver to the electors of such State, on or
        before the day on which they are required by section 7 of this title to meet, six
        duplicate-originals of the same certificate under the seal of the State; and if there shall
        have been any final determination in a State in the manner provided for by law of a
        controversy or contest concerning the appointment of all or any of the electors of
        such State, it shall be the duty of the executive of such State, as soon as practicable
        after such determination, to communicate under the seal of the State to the Archivist
        of the United States a certificate of such determination in form and manner as the
        same shall have been made; and the certificate or certificates so received by the
        Archivist of the United States shall be preserved by him for one year and shall be a
        part of the public records of his office and shall be open to public inspection; and the
        Archivist of the United States at the first meeting of Congress thereafter shall transmit
        to the two Houses of Congress copies in full of each and every such certificate so
        received at the National Archives and Records Administration.

        The Plaintiffs claim that the Federal Defendants’ presumption is constitutionally incorrect;

under Article II’s imperative sentence regarding Presidential elections, Defendants Vice President

Pence, the U.S. House of Representatives and the United States Senate can only open up and count

Presidential elector ballots if the state legislature has affirmatively voted post-election to certify the

Presidential electors; otherwise, the votes of the Presidential electors cannot be counted. The


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Plaintiffs claim that the Vice President and U.S. Congress act unconstitutionally in this Presidential

election and future Presidential elections when they count votes of Presidential electors where the

respective state legislature has not affirmatively voted in favor of post-election certification.

        Similarly, the Defendant States’ executives, Governor Tom Wolf of Pennsylvania, Governor

Gretchen Whitmer of Michigan, Governor Tony Evers of Wisconsin, Governor Brian Kemp of

Georgia, and Governor Doug Ducey of Arizona under 3 U.S.C. § 6 and their respective state’s laws,

have designated the Presidential electors based on the assumption that state executive branch

certification is all that is required.

        But, Governor Tom Wolf of Pennsylvania, Governor Gretchen Whitmer of Michigan,

Governor Tony Evers of Wisconsin, Governor Brian Kemp of Georgia, and Governor Doug of

Arizona are constitutionally mistaken because the designation by the Governor of each Defendant

State cannot cure that the Presidential electors are without state legislative post-election certification.

Until the state legislature certifies the Presidential votes and the Presidential electors, the respective

Governor’s designation under 3 U.S.C. § 6 and their respective state’s laws have no legal effect.

Absent the state legislative post-election certification required by Article II’s imperative sentence

regarding Presidential elections, the Governor’s designation of Presidential electors has no legal

effect because their votes cannot be counted by the Vice President, U.S. Senate and U.S. House of

Representatives.

        Finally, Article II’s imperative sentence regarding Presidential elections requires the

Defendants’ state legislative leaders to act to vote on post-election certification of the Presidential

electors. But, instead, the state legislatures unconstitutionally defer because of their respective state

laws which are a perpetual and wholesale delegation of post-election certification to state executive

branch officials—as has been done in Ariz. Rev. Stat. § 16-212 (B) (Arizona Secretary of State), Ga.

Code Ann.§ 21-2-499 (B) (Georgia Secretary of State and Governor), Mich. Comp. Laws § 168.46



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(Michigan State Board of Canvassers and Governor), Wis. Stat. § 7.70 (5) (b) (Wisconsin Elections

Commission); and 25 Pa. Cons. Stat. § 3166 (Secretary of Commonwealth and Governor).

        The Plaintiffs claim that Article II’s imperative sentence regarding Presidential elections, and

its non-delegation doctrine, permanently left it to the state legislatures to “direct” post-election

certification of Presidential electors, not to delegate post-election certification, perpetually and in a

wholesale fashion, to state executive branch officials as a ministerial duty.

        In this way, the Defendant States’ legislative leaders, including Speaker Bryan Carter of the

Pennsylvania House of Representatives, Senate Majority Leader Jake Corman of the Pennsylvania

Senate, Speaker Lee Chatfield of the Michigan House of Representatives, Senate Majority Leader

Mike Shirkey of the Michigan Senate, Speaker Robin Vos of the Wisconsin State Assembly, Senate

Majority Leader Howard Marklein of the Wisconsin Senate, Speaker David Ralston of the Georgia

House of Representatives, Senate President Pro Tempore Butch Miller of the Georgia Senate,

Speaker Russell Bowers of the Arizona House of Representatives, and Senate Majority Leader Rick

Gray of the Arizona Senate are violating their duties under the federal Constitution by not voting on

post-election certification of the Presidential electors so their votes can constitutionally count.

        State legislative post-election certification of Presidential electors is a part of federally-

guaranteed voting rights.

        Further, the state constitutions of the Defendant States fail to require the state legislature to

meet for post-election certification of the Presidential electors in violation of state legislative

constitutional duties under Article II’s imperative sentence regarding Presidential elections of the

U.S. Constitution. Arizona’s, Georgia’s and Pennsylvania’s Constitutions have the state legislature

adjourned until January 2021 subject to special sessions called by the Governor or state legislature.

Arizona Const.; Georgia Const.; Pennsylvania Const. Michigan’s and Wisconsin’s Constitutions

permit the state legislature to be in session, but do not require a joint session of the state legislature



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to affirmatively vote for post-election certification of Presidential electors. Michigan Const.;

Wisconsin Const. By contrast, for example, the Georgia Constitution of 1798, Article IV, section 2,

subsequently repealed, had clear procedures for state legislative certification of Presidential electors:

        Sec. 2. All elections by the general assembly shall be by joint ballot of both branches
        of the legislature; and when the senate and house of representatives unite for the
        purpose of electing, they shall meet in the representative chamber, and the president
        of the senate shall in such cases preside, receive the ballots, and declare the person or
        persons elected. In all elections by the people the electors shall vote viva voce until the
        legislature shall otherwise direct.3

        Each voter who votes—distinguishable from those who don’t—has a constitutionally-

protected interest in state legislative post-election certification of their vote and of their state’s

Presidential electors. The federal Defendants violate those voting rights by counting ballots of

Presidential electors without the constitutionally-required state legislative post-election certifications.

The state Defendants violate those voting rights by not complying with constitutionally-required

state legislative post-election certifications of Presidential votes and of Presidential electors.

B.      None of the Presidential Electors certified by the Governors of the Defendant States
        received state legislative post-election certification; their votes should not be counted
        by Congress and the Vice President on January 6, 2021.

        On December 14, the Presidential electors for Biden and Trump met and voted in their

Defendant States. The Presidential electors for Biden in the Defendant States are certified by state

executive branch officials under 3 U.S.C. § 6 and the respective states’ election certification laws.

Ariz. Rev. Stat. § 16-212 (B) (Arizona Secretary of State), Ga. Code Ann.§ 21-2-499 (B) (Georgia

Secretary of State and Governor), Mich. Comp. Laws § 168.46 (Michigan State Board of Canvassers

and Governor), Wis. Stat. § 7.70 (5) (b) (Wisconsin Elections Commission); and 25 Pa. Cons. Stat.

§ 3166 (Secretary of Commonwealth and Governor). The Presidential electors for Trump are not



3
 Georgia Constitution of 1798 (http://founding.com/founders-library/government-
documents/american-state-and-local-government-documents/state-constitutions/georgia-
constitution-of-1798/) (last visited: December 18, 2020).


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certified in this way. But, neither the Presidential electors for Biden nor the Presidential electors for

Trump in the Defendant States received a state legislative post-election affirmative vote for

certification. The Presidential electors for Biden in the Defendant States voted for Biden as

President and Harris as Vice President.4 The Presidential electors for Trump in the Defendant States

voted for Trump as President and Pence as Vice President. But, under Article II, none of these

votes count because no Presidential electors have received state legislative post-election certification.

C.      Federal and state court post-election Presidential election contests and recounts
        preclude state legislative post-election certification of Presidential votes and
        Presidential electors.

        Federal and state court post-election Presidential election contests and recounts preclude the

state legislatures’ post-election certifications of Presidential votes and of Presidential electors. Under

the Plaintiffs’ interpretation of Article II, pre-election judicial proceedings are not a constitutional

problem, but judicial post-election Presidential election contests and recounts conflict with the state

legislatures’ post-election certifications under Article II.

        1. The U.S. Supreme Court and Florida Supreme Court decisions in Bush v. Gore are
           examples of federal court and state court interference conflicting with a state
           legislature’s Article II post-election certification prerogatives.

        The court decisions in Bush v. Gore reflect examples of federal court and state court

proceedings conflicting with a state legislature’s Article II post-election certification prerogatives.

On December 12, 2000, the U.S. Supreme Court issued a decision in Bush v. Gore, 531 U.S. 98

(2000), settling a state court recount dispute in Florida's 2000 presidential election between George

W. Bush and Al Gore. The U.S. Supreme Court decision allowed the previous vote certification

made by Florida Secretary of State Katherine Harris to stand for George W. Bush, who thereby won




4
 The Epoch Times, “Electors in 7 states cast dueling votes for Trump” at
https://www.theepochtimes.com/mkt_app/electors-in-7-states-cast-dueling-votes-for-
trump_3620059.html (last visited: Dec. 18, 2020).


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Florida's 25 electoral votes—and the Presidential election. Neither the court decisions, nor Florida

law, included the Florida state legislature conducting post-election certifications of the Presidential

vote and of the Presidential electors.

        2. The Defendant States have election contest or recount laws, which apply to
           Presidential elections.

        Similarly, the Defendant States have election contest or recount laws, which apply to

Presidential elections—like Florida’s laws did in 2000: Ariz. Rev. Stat. § 16-672; Ga. Code Ann.§ 21-

2-521; Mich. Comp. Laws § 168.862; Wis. Stat. § 9.01; and 25 Pa. Cons. Stat. § 3351. The

Defendant States’ laws do not provide for the state legislatures to engage in post-election

certifications. Interestingly, the Pennsylvania laws have a state legislative post-election certification

process for its Governor and Lieutenant Governor elections. 25 Pa. Cons. Stat. § 3312, et seq.

        3. In 2020, approximately thirty post-election lawsuits are filed in Defendants States
           regarding election official errors and improprieties.

        Approximately thirty post-election lawsuits regarding Pennsylvania, Michigan, Wisconsin,

Georgia and Arizona election official errors and improprieties were filed.5 The Complaint and its

citations to the appendix detail allegations of Pennsylvania, Michigan, Wisconsin, Georgia and

Arizona election official errors and improprieties. In Defendants’ states, voter allegations exists

which are the election officials’ errors and improprieties exceed the razor-thin margins of

Presidential contests.

        4. In 2020, Texas sued Pennsylvania, Michigan, Wisconsin and Georgia in the U.S.
           Supreme Court to adjudicate election irregularities and improprieties.

        On December 7, 2020, Texas filed an original action in the U.S. Supreme Court, Case No.

22O155, against Pennsylvania, Michigan, Wisconsin and Georgia for election irregularities and



5
 See “Postelection lawsuits related to the 2020 United States presidential election,” found at
https://en.wikipedia.org/wiki/Postelection_lawsuits_related_to_the_2020_United_States_presidential_election#
Wood_v._Raffensperger (last visited: Dec. 15, 2020).


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improprieties. On December 9, Missouri and 16 other states filed a motion for leave to file an

amicus curiae brief in support of Texas. On December 10, U.S. Representative Mike Johnson and

105 other members submitted a motion for leave to file amicus brief in support of Texas. On

December 11, the U.S. Supreme Court dismissed the original action in a text order:

        The State of Texas’s motion for leave to file a bill of complaint is denied for lack of
        standing under Article III of the Constitution. Texas has not demonstrated a judicially
        cognizable interest in the manner in which another State conducts its elections. All
        other pending motions are dismissed as moot. Statement of Justice Alito, with whom
        Justice Thomas joins: In my view, we do not have discretion to deny the filing of a bill
        of complaint in a case that falls within our original jurisdiction.
        See Arizona v. California, 589 U. S. ___ (Feb. 24, 2020) (Thomas, J., dissenting). I would
        therefore grant the motion to file the bill of complaint but would not grant other relief,
        and I express no view on any other issue.6

D.      The Defendants violate the Plaintiffs’ constitutionally-protected voting rights by
        certifying Presidential electors who have not received state legislative post-election
        certification and by counting their votes.

        The Defendants violate the Plaintiffs’ constitutionally-protected voting rights by recognizing

Presidential electors who have not received state legislative post-election certification and by

counting their votes. Under Article II’s imperative sentence regarding Presidential elections,

Defendants can only certify Presidential electors and count their votes if they have received state

legislative post-election certification—which none have.

        The federal laws regarding the Presidential electors, 3 U.S.C. §§ 5, 6 and 15, are

constitutionally unauthorized. Article II and the Twelfth Amendment of the Constitution establish a

non-delegable process where at least state legislative post-election certification of the state’s

Presidential electors is constitutionally required for Presidential elector votes to be counted in the

election of the President and Vice President. In contradiction, the federal laws, 3 U.S.C. §§ 5, 6 and



6
 Plaintiffs agree that the State of Texas lacked standing, but the original action itself begs the
question, “Is the U.S. Supreme Court the final adjudicator for certification of Presidential electors?”
The Plaintiffs’ answer is no; the respective state legislatures are the final determiner of certification
of Presidential electors—and, in a non-delegable way.


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15, establish a different process where Presidential electors are designated by the Governor of each

Defendant State without state legislative post-election certification—and, then, their votes are

counted to elect the President and Vice President.

        The Defendant States have legally acquiesced to the federal laws by enacting statutes

transferring post-election certification from the state legislatures to state executive branch officials:

Ariz. Rev. Stat. § 16-212 (B) (Arizona Secretary of State), Ga. Code Ann.§ 21-2-499 (B) (Georgia

Secretary of State and Governor), Mich. Comp. Laws § 168.46 (Michigan State Board of Canvassers

and Governor), Wis. Stat. § 7.70 (5) (b) (Wisconsin Elections Commission); and 25 Pa. Cons. Stat.

§ 3166 (Secretary of Commonwealth and Governor). These state laws also violate Article II which

establishes the state legislative prerogative to post-election certification of Presidential electors.

E.      This motion for preliminary injunction is filed to avoid a constitutional crisis.

        The Plaintiffs file this complaint to avoid a constitutional crisis that would be involved in a

post-inaugural ouster of the United States President and Vice President under D.C. Code § 16-3501,

et seq., which authorizes the U.S. District Court for the District of Columbia, in proper cases,

instituted by proper officers or persons, to oust national officers of the United States post-election,

including the President and Vice President of the United States. Newman v. U.S. of America ex rel.

Frizzell, 238 U.S. 537 (1915).

        Instead, to avoid that post-inaugural constitutional crisis, the Plaintiffs as voters file this

preliminary injunction motion against federal officials in the District of Columbia and Governors

and state legislative leaders in Arizona, Georgia, Michigan, Pennsylvania and Wisconsin (“Defendant

States”) requiring a constitutionally-compliant process for state-by-state post-election certification of

Presidential electors and counting of their votes for the November 3, 2020 Presidential election and

future elections.




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                                              ARGUMENT

        The Plaintiffs as voters file this motion for preliminary injunction against federal officials in

the District of Columbia and Governors and state legislative leaders in Arizona, Georgia, Michigan,

Pennsylvania and Wisconsin (“Defendant States”) seeking a constitutionally-compliant process for

state legislative post-election certification of Presidential electors and counting of their votes prior to

the Presidential and Vice Presidential inaugural on January 20, 2021.

        Under Article II's imperative sentence regarding Presidential elections, Congress lacks legal

authority to enact laws interfering with the state-by-state state legislative post-election certification of

Presidential electors as it has done with 3 U.S.C. §§ 5, 6 and 15. Analogously, under Article II’s

imperative sentence regarding Presidential elections, the state legislatures lack legal authority to enact

state laws which are a perpetual and wholesale delegation of post-election certification to state

executive branch officials—as they have done in Ariz. Rev. Stat. § 16-212 (B) (Arizona Secretary of

State), Ga. Code Ann.§ 21-2-499 (B) (Georgia Secretary of State and Governor), Mich. Comp. Laws

§ 168.46 (Michigan State Board of Canvassers and Governor), Wis. Stat. § 7.70 (5) (b) (Wisconsin

Elections Commission); and 25 Pa. Cons. Stat. § 3166 (Secretary of Commonwealth and

Governor). Article II’s imperative sentence regarding Presidential elections, and its non-delegation

doctrine, left it to the state legislatures to “direct” post-election certification of Presidential electors,

not to delegate post-election certification, perpetually and in a wholesale fashion, to state executive

branch officials as a ministerial duty. Under Article II’s imperative sentence regarding Presidential

elections, if there is no state legislative post-election certification of Presidential electors in the

Defendant States, then those Defendant States’ Presidential electors’ votes, not so certified, cannot




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be counted by the federal Defendants for the election of President and Vice President. So, the

preliminary injunction should issue to require constitutional compliance.7

    I.        The D.C. Circuit applies a four-part test for granting a preliminary injunction.

          A party seeking a preliminary injunction must establish (1) that he is likely to succeed on the

merits, (2) that he is likely to suffer irreparable harm in the absence of preliminary relief, (3) that the

balance of equities tips in his favor, and (4) that an injunction is in the public interest.” Aamer v.

Obama, 742 F.3d 1023, 1038 (D.C.Cir.2014) (quoting Sherley v. Sebelius, 644 F.3d 388, 392

(D.C.Cir.2011)) (emphasis in text deleted). A preliminary injunction “is an extraordinary and drastic

remedy, one that should not be granted unless the movant, by a clear showing, carries the burden of

persuasion.” Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (quoting 11A C. Wright, A. Miller, & M.

Kane, Federal Practice And Procedure § 2948 (2d ed.1995)) (emphasis in original).

    II.       The Plaintiffs are likely to succeed on the merits.

          The Plaintiffs are likely to succeed on the merits. The D.C. Circuit has, in the past, followed

the “sliding scale” approach to success on the merits, where “a court, when confronted with a case

in which the other three factors strongly favor interim relief may exercise its discretion to grant a

stay if the movant has made a substantial case on the merits.” Wash. Metro. Area Transit Comm'n v.

Holiday Tours, Inc., 559 F.2d 841, 843 (D.C.Cir.1977). Under the sliding scale approach, “if the

movant makes a very strong showing of irreparable harm and there is no substantial harm to the

nonmovant, then a correspondingly lower standard can be applied for likelihood of success.” Davis

v. Pension Ben. Guar. Corp., 571 F.3d 1288, 1292 (D.C.Cir.2009).




7
 For a review of the constitutional convention’s deliberations on selecting the president, see Neal R.
Peirce and Lawrence D. Longley, The People’s President: The Electoral College in American History and the
Direct Vote Alternative (1968; New Haven, 1981) at 10-30.


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        A.       Federal law—3 U.S.C. §§ 5, 6, 15—and the state laws—Ariz. Rev. Stat. § 16-212
                 (B), Ga. Code Ann. § 21-2-499 (B), Mich. Comp. Laws. § 168.46, Wis. Stat. §
                 7.70 (5) (b) and 25 Pa. Cons. Stat. § 3166—are constitutionally unauthorized
                 and they violate voters’ rights to state legislative post-election certifications.

        The plaintiffs have voting rights under Article II guaranteeing state legislative post-election

certification of their votes and of Presidential electors. See Baten v. McMaster, 967 F.3d 345, 352–53

(4th Cir. 2020) (voters who vote in Presidential elections have standing on claims of government

causing disenfranchisement). 3 U.S.C. §§ 5, 6, 15, Ariz. Rev. Stat. § 16-212 (B), Ga. Code Ann.§ 21-

2-499 (B), Mich. Comp. Laws § 168.46, Wis. Stat. § 7.70 (5) (b) and 25 Pa. Cons. Stat. § 3166 are

constitutionally unauthorized. The federal and state laws violate voters’ rights by preempting state

legislative post-election certification of their Presidential votes and post-election certification of the

Presidential electors. 3 U.S.C. §§ 5, 6, 15 also unconstitutionally allow counting of votes of

Presidential electors who have not received the constitutionally-required state legislative post-

election certification.

        1.       Voter rights are guaranteed under Article II to the state legislatures’ post-
                 election certifications of their votes and of Presidential electors.

        Article II guarantees to voters that the state legislature will vote on post-election certification

of votes and post-election certification of Presidential electors and that only ballots of legislatively-

certified Presidential electors will be counted for the election of President and Vice President. See

Baten v. McMaster, 967 F.3d at 352–53 (4th Cir. 2020). It is part of the social contract embedded in

the Constitution.

        Specifically, Article II provides that the state legislature—not Congress, nor the

Governors—shall be the deciding body for Presidential electors:

        He shall hold his office during the term of four years, and, together with the Vice
        President, chosen for the same term, be elected, as follows: Each state shall appoint,
        in such manner as the Legislature thereof may direct, a number of electors, equal to
        the whole number of Senators and Representatives to which the State may be entitled




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        in the Congress: but no Senator or Representative, or person holding an office of trust
        or profit under the United States, shall be appointed an elector.

Under Article II and the Tenth Amendment, the state legislatures’ power to determine the manner

of appointment of Presidential electors includes the power of post-election certification. Moreover,

the state legislatures’ choice for elections as the manner to appoint Presidential electors does not

abrogate nor diminish the state legislatures’ constitutional obligations to conduct post-election

certification of their respective Presidential electors.

        2.      Article II’s imperative sentence regarding Presidential elections requires that
                only the votes of Presidential electors who have received state legislative post-
                election certification count toward election of President and Vice President.

        The purpose of Article II’s imperative sentence regarding Presidential elections is for state

legislatures to certify voters’ Presidential votes in order to certify Presidential electors who cast

ballots for President and Vice President—which are opened and counted by the federal Defendants.

The voters in the Presidential elections are constitutionally-guaranteed that the state legislature, after

the election, will certify their vote and, based on the Presidential vote returns, certify the Presidential

electors. All Presidential election contests are to be heard by the state legislatures—not the federal

courts nor the state courts. The constitutional protection of the state legislatures’ constitutional

prerogatives over selection of Presidential electors is that the Federal Defendants can only count the

votes of the Presidential electors who have state legislative post-election certification; otherwise,

constitutionally, the votes of Presidential electors without state legislative post-election certification

do not count.

        3 U.S.C. §§ 5, 6, 15, Ariz. Rev. Stat. § 16-212 (B), Ga. Code Ann.§ 21-2-499 (B), Mich.

Comp. Laws § 168.46, Wis. Stat. § 7.70 (5) (b) and 25 Pa. Cons. Stat. § 3166 are also

constitutionally unauthorized because the Federal Defendants count votes of Presidential electors

who do not have state legislative post-election certification. The federal laws and state laws authorize



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an unconstitutional method for electing the President and Vice President. Because the federal laws

are not constitutionally authorized, the threat of a post-inaugural ouster under D.C. Code 16-3501,

et seq., is legally imminent.

        3.      3 U.S.C. §§ 5, 6 and 15 fail to constitutionally guarantee state legislative post-
                election certifications of votes and of Presidential electors.

        3 U.S.C. §§ 5, 6 and 15 constitute significant federal regulation of the state appointment of

Presidential electors and counting their votes for President and Vice President. Meanwhile, these

federal laws fail to guarantee state legislative certifications of votes and of Presidential electors.

Sections 5 and 6 set a deadline for the state executive branch officials and judges of December 8,

2020, to determine election controversies as to appointment of electors and designates the Governor

of each state to communicate the appointment of the Presidential electors to the federal

government. Section 5 sets the deadline as six days before the Electors meet to vote which was

December 14, 2020:

        If any State shall have provided, by laws enacted prior to the day fixed for the
        appointment of the electors, for its final determination of any controversy or contest
        concerning the appointment of all or any of the electors of such State, by judicial or
        other methods or procedures, and such determination shall have been made at least
        six days before the time fixed for the meeting of the electors, such determination made
        pursuant to such law so existing on said day, and made at least six days prior to said
        time of meeting of the electors, shall be conclusive, and shall govern in the counting
        of the electoral votes as provided in the Constitution, and as hereinafter regulated, so
        far as the ascertainment of the electors appointed by such State is concerned.

        Section 6 designates the Governors, the executives of the states, to be the public officials to

exclusively communicate the list of Presidential electors and their votes to the federal government:

        It shall be the duty of the executive of each State, as soon as practicable after the
        conclusion of the appointment of the electors in such State by the final ascertainment,
        under and in pursuance of the laws of such State providing for such ascertainment, to
        communicate by registered mail under the seal of the State to the Archivist of the
        United States a certificate of such ascertainment of the electors appointed, setting forth
        the names of such electors and the canvass or other ascertainment under the laws of
        such State of the number of votes given or cast for each person for whose appointment
        any and all votes have been given or cast; and it shall also thereupon be the duty of the


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        executive of each State to deliver to the electors of such State, on or before the day on
        which they are required by section 7 of this title to meet, six duplicate-originals of the
        same certificate under the seal of the State; and if there shall have been any final
        determination in a State in the manner provided for by law of a controversy or contest
        concerning the appointment of all or any of the electors of such State, it shall be the
        duty of the executive of such State, as soon as practicable after such determination, to
        communicate under the seal of the State to the Archivist of the United States a
        certificate of such determination in form and manner as the same shall have been
        made; and the certificate or certificates so received by the Archivist of the United
        States shall be preserved by him for one year and shall be a part of the public records
        of his office and shall be open to public inspection; and the Archivist of the United
        States at the first meeting of Congress thereafter shall transmit to the two Houses of
        Congress copies in full of each and every such certificate so received at the National
        Archives and Records Administration.

        Section 15 contains procedures for the Vice President of the United States as President of

the Senate, the U.S. Senate and the U.S. House of Representatives to meet on January 6 following

the Presidential election and for counting the Presidential electors’ votes from the respective states.

There is nothing in section 15 stating that only the ballots of Presidential electors who have received

state legislative post-election certification will be counted:

        Congress shall be in session on the sixth day of January succeeding every meeting of
        the electors. The Senate and House of Representatives shall meet in the Hall of the
        House of Representatives at the hour of 1 o'clock in the afternoon on that day, and
        the President of the Senate shall be their presiding officer. Two tellers shall be
        previously appointed on the part of the Senate and two on the part of the House of
        Representatives, to whom shall be handed, as they are opened by the President of the
        Senate, all the certificates and papers purporting to be certificates of the electoral votes,
        which certificates and papers shall be opened, presented, and acted upon in the
        alphabetical order of the States, beginning with the letter A; and said tellers, having
        then read the same in the presence and hearing of the two Houses, shall make a list of
        the votes as they shall appear from the said certificates; and the votes having been
        ascertained and counted according to the rules in this subchapter provided, the result
        of the same shall be delivered to the President of the Senate, who shall thereupon
        announce the state of the vote, which announcement shall be deemed a sufficient
        declaration of the persons, if any, elected President and Vice President of the United
        States, and, together with a list of the votes, be entered on the Journals of the two
        Houses.

Thus, none of these federal laws—3 U.S.C. §§ 5, 6 and 15—guarantee state legislative post-election

certification of Presidential electors before their votes are counted.




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        4.      Congress lacks Congressional authority to enact 3 U.S.C. §§ 5, 6 and 15 which
                preempt constitutionally-mandated state legislative post-election certification
                of Presidential electors, violating voting rights related thereto.

        Two legal standards cover cases challenging Congress’s constitutional authority to enact

statutes. The first legal standard applies when the party claims an Act of Congress is not authorized

by one of the powers delegated to Congress in Article I of the Constitution. See, e.g., Perez v. United

States, 402 U.S. 146 (1971); McCulloch v. Maryland, 17 U.S. 316 (1819).

        The second legal standard applies when the party claims an Act of Congress invades the

province of state sovereignty granted by an express constitutional provision or reserved by the

Tenth Amendment. See, e.g., Garcia v. San Antonio Metropolitan Transit Authority, 469 U.S. 528

(1985); Lane County v. Oregon, 74 U.S. 71 (1869). “If a power is delegated to Congress in the

Constitution, the Tenth Amendment expressly disclaims any reservation of that power to the States;

if a power is an attribute of state sovereignty reserved by the Tenth Amendment, it is necessarily a

power the Constitution has not conferred on Congress.” New York v. U.S., 505 U.S. 144, 156 (1992)

(citations omitted). It is in this sense that the Tenth Amendment “states but a truism that all is

retained which has not been surrendered.” United States v. Darby, 312 U.S. 100, 124 (1941).

        The Plaintiffs here assert that the 3 U.S.C. §§ 5, 6, 15 is both constitutionally unauthorized

and 3 U.S.C. §§ 5, 6, 15 invades the state legislature’s power to post-election certifications of

Presidential votes and Presidential electors granted by Article II and reserved by the Tenth

Amendment. So, both legal standards apply.

        a. The textualist argument supports that the state legislatures, not Governors must
           conduct post-election certifications of Presidential votes and of Presidential
           electors.

        One Congressional researcher has defined judicial textualism:

        Textualism is a mode of interpretation that focuses on the plain meaning of the text
        of a legal document. Textualism usually emphasizes how the terms in the Constitution
        would be understood by people at the time they were ratified, as well as the context in


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        which those terms appear. Textualists usually believe there is an objective meaning of
        the text, and they do not typically inquire into questions regarding the intent of the
        drafters, adopters, or ratifiers of the Constitution and its amendments when deriving
        meaning from the text.8

The textualist argument supports that the state legislatures, not Governors, must conduct post-

election certification of Presidential votes and post-election certification of Presidential electors.

        The textualist argument in this memorandum is based on one sentence in Article II of the

U.S. Constitution. The sentence has eighty-five words. The constitutional sentence provides:

        He shall hold his office during the term of four years, and, together with the Vice
        President, chosen for the same term, be elected, as follows: Each state shall appoint,
        in such manner as the Legislature thereof may direct, a number of electors, equal to
        the whole number of Senators and Representatives to which the State may be entitled
        in the Congress: but no Senator or Representative, or person holding an office of trust
        or profit under the United States, shall be appointed an elector.

The Plaintiffs claim, based on this sentence, that post-election certification of Presidential votes and

post-election certification of Presidential electors are state legislative decisions. In turn, the Plaintiffs

claim that 3 U.S.C. § 5, 6 and 15 and state laws (such as Ariz. Rev. Stat. § 16-212 (B), Ga. Code

Ann.§ 21-2-499 (B), Mich. Comp. Laws § 168.46, Wis. Stat. § 7.70 (5) (b) and 25 Pa. Cons. Stat. §

3166) eviscerating these state legislative prerogatives, every four years, are unconstitutional.

        Several textualist interpretative keys open up the relevant meanings of the constitutional text

as interpreted by Plaintiffs. First, the constitutional sentence is an imperative sentence. Second, the

imperative sentence requires the election of President and Vice President every “four years.” Third,

every four years, the “state” appoints the Presidential electors. Fourth, every four years, “the

legislature may “direct” the “manner” of appointing.

        The constitutional sentence is an imperative sentence requiring that the President and Vice

President “be elected” “every four years.” The sentence phrase “as follows” provides specific



8
 Brandon J. Murrill, “Modes of Constitutional Interpretation” at 2, Congressional Research Service
(Mar. 15, 2018).


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directions on how the Presidential election is to occur. This imperative sentence is an instruction to

all constitutional actors identified—President, Vice President, U.S Congress, Presidential electors,

states and state legislatures—and those not identified—Governors, federal judiciary and state

judiciaries.

        The Plaintiffs focus on the imperative nature of the constitutional sentence to make their

texualist interpretation. To begin, the imperative sentence, in relevant part, requires that the all the

constitutionally-identified actors—President, Vice President, U.S Congress, Presidential electors,

states and state legislatures— conduct an election of President and Vice President every “four

years.” This interpretation can hardly be disputed since that is what the text says. And, ever since

its adoption, the United States has conducted, every four years, an election for President and Vice

President. Consistently, the challenged federal and state laws—3 U.S.C. § 5, 6 and 15 and Ariz. Rev.

Stat. § 16-212 (B), Ga. Code Ann.§ 21-2-499 (B), Mich. Comp. Laws § 168.46, Wis. Stat. § 7.70 (5)

(b) and 25 Pa. Cons. Stat. § 3166)—all presume a Presidential election every four years.

        Next, the imperative constitutional section requires that, every four years, the “state”

appoints the Presidential electors. This interpretation also can also hardly be disputed since that is

what the text says. And, ever since its adoption, the states, every four years, have appointed

Presidential electors for the purpose of electing a President and Vice President. Consistently, the

challenged federal and state laws--3 U.S.C. § 5, 6 and 15 and Ariz. Rev. Stat. § 16-212 (B), Ga. Code

Ann.§ 21-2-499 (B), Mich. Comp. Laws § 168.46, Wis. Stat. § 7.70 (5) (b) and 25 Pa. Cons. Stat. §

3166)—presume that the states, every four years, appoint Presidential electors for the purpose of

electing a President and Vice President.

        Finally, the imperative constitutional section requires that, every four years, “the legislature”

may “direct” the “manner” of appointing of the Presidential electors. Plaintiffs claim that it is this

aspect of the constitutional imperative sentence that is violated when the challenged federal and



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state laws--3 U.S.C. § 5, 6 and 15 and Ariz. Rev. Stat. § 16-212 (B), Ga. Code Ann.§ 21-2-499 (B),

Mich. Comp. Laws § 168.46, Wis. Stat. § 7.70 (5) (b) and 25 Pa. Cons. Stat. § 3166)—legally

preclude state legislative post-election certification of Presidential votes and post-election

certification of Presidential electors. Plaintiffs claim that, every four years, “the legislature must be

involved in such post-election certification so that it may “direct” the “manner” of “appoint[ing]” of

the Presidential electors—as the constitutional imperative sentence requires.

        To be sure, in the previous sentence of this memorandum, the “-ing” at the end of

“appoint[ing]” is in brackets because the word “appoint” is in the constitutional text not the word

“appointing.” To explain, please engage in a thought experiment sympathetic to Plaintiffs’

position. Substitute “engage in appointing” for “appoint” in the constitutional sentence. Such

substitution does not change the meaning of that part of the constitutional sentence. The phrase

“every four years, the state shall appoint” has the same meaning as “every four years, the state shall

engage in appointing.” However, such a substitution does confirm Plaintiffs’ constitutional

argument. The substitution does not contradict any other part of the constitutional imperative

sentence. The state legislature, every four years, may direct the manner of the state engaging in

appointing the Presidential electors. So, the state legislatures, every four years, applies their

respective parliamentary rules to the state appointments of Presidential electors. The federal laws

and state laws which contradict with the state legislatures’ quadrennial prerogatives are

constitutionally unauthorized.

        To be balanced, a similar thought experiment sympathetic to the opposition should be

tried. Now, substitute the phrase “have laws regarding appointment” for “appointment” in the

constitutional sentence. Quickly, two contradictions arise. First, the first part of sentence “[The

President] shall hold his office during the term of four years, and, together with the Vice President,

chosen for the same term, be elected, as follows.” So, state laws contradict with the phrase that the



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states “have laws regarding appointment.” The contradiction is that the constitutional imperative

sentence is the exclusive law requiring that every four years the Presidential elections shall occur “as

follows”; so, state laws “directing” the “manner” of “appointing” the Presidential electors are

constitutionally unauthorized. Second, the later part of the sentence “in such manner as the

Legislature thereof may direct” contradicts “have laws regarding appointment.” The contradiction is

that the constitutional imperative sentence is the exclusive law requiring that every four years the

Presidential elections shall occur “as follows” including the state legislature “may” “direct” the

“manner” of “appointing” the Presidential electors. So, state laws “directing” the “manner” of

“appointing” the Presidential electors are constitutionally unauthorized. Specifically, the challenged

federal laws and state laws requiring Governor post-election certification of Presidential electors,

currently considered as having full legal force and effect, have the legal consequence that the state

legislatures, every four years, “may” NOT “direct” the “manner” of “appointing” the Presidential

electors. Again, the state legislatures, not the Governors, have the constitutional prerogatives for

post-election certification.

        b. The textual argument supports that 3 U.S.C. §§ 5, 6 and 15 are unconstitutional.

        The textual argument for unconstitutionality of 3 U.S.C. §§ 5, 6 and 15 is straightforward.9

Under textualism, the Constitution’s text supports that the unconstitutionality of 3 U.S.C. §§ 5, 6

and 15 because they fail to guarantee voter’s rights to the state legislature’s post-election

certifications of Presidential votes and of Presidential electors to vote for President and Vice

President.

        Congress neither has express constitutional authority nor implied constitutional authority to

enact 3 U.S.C. §§ 5, 6 and 15. Further, the federal laws violate voter’s rights in Presidential elections


9
 See, generally, Vasan Kesavan, Is the Electoral Count Act Unconstitutional, 80 N.C. L. Rev. 1653, 1696-
1759 (2002).


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because they interfere with state legislative post-election certifications of Presidential votes and

Presidential electors and that only the votes of such certified Presidential electors may be counted in

the election of President and Vice President.

        First, Congress has no express constitutional authority to enact 3 U.S.C. §§ 5, 6 and 15 which

regulate state appointment of Presidential electors and regulate counting Presidential elector votes to

elect a President and Vice President. Article II puts state appointment of Presidential electors in the

exclusive hands of the state legislatures every four years, “Each state shall appoint, in such manner

as the Legislature thereof may direct.” By contrast, Article II lacks the express grant of authority to

Congress in Article I’s Elections Clause for Congressional elections:

        The Times, Places and Manner of holding Elections for Senators and Representatives,
        shall be prescribed in each State by the Legislature thereof; but the Congress may at
        any time by Law make or alter such Regulations, except as to the Places of chusing
        Senators.

There, the Constitution provides a power to Congress “to make or alter such [state] Regulations” by

state in Article I. But, that Constitutionally-conferred power is absent in Article II.

        Lacking express constitutional authority in Article II’s imperative sentence regarding

Presidential elections, the only alternative for Congressional authority is an implied constitutional

authority. The only candidates for the government’s implied constitutional authority would be

Article I’s the Necessary and Proper Clause and Article II itself.

        The first candidate for implied Congressional authority is the Necessary and Proper Clause.

The Necessary and Proper Clause provides that Congress shall have power "[t]o make all Laws

which shall be necessary and proper for carrying into Execution the foregoing Powers, and all other

Powers vested by this Constitution in the Government of the United States, or in any Department

or Officer thereof." A careful parsing of the Necessary and Proper Clause reveals that there are three

prongs of power. Under the Clause, Congress has power for carrying into execution (1) "the

foregoing Powers," (2) "all other Powers vested by this Constitution in the Government of the


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United States," and (3) "all other Powers vested by this Constitution... in any Department or Officer

thereof." None of these prongs support the constitutionality of 3 U.S.C. §§ 5, 6 and 15.

        First, the phrase "foregoing Powers" refers to the enumerated powers of Article I. None of

the enumerated Congressional powers in Article I cover the appointment of and voting by

Presidential electors—which is covered by Article II. So, the “foregoing powers” requirement is not

satisfied.

        Second, the phrase "all other Powers vested by this Constitution... in any Department or

Officer thereof" does not include Congress or Congressional members. Congress is not a

Department. Members of Congress are not Officers. In fact, Congressional members are subject to

impeachment by the House of Representatives and conviction by the Senate because they are not

"civil Officers of the United States." See U.S. Const., art. II, § 4 ("The President, Vice President, and

all civil Officers of the United States, shall be removed from Office on Impeachment for, and

Conviction of, Treason, Bribery, or other high Crimes and Misdemeanors."). Furthermore, the

Ineligibility Clause of Article I, Section 6 provides that "no Person holding any Office under the

United States, shall be a Member of either House during his Continuance in Office.” So the phrase

"all other Powers vested by this Constitution... in any Department or Officer thereof" is not

satisfied.

        Third, the phrase "all other Powers vested by this Constitution... in any Department or

Officer thereof" does not apply because the U.S. Congress is not a Department or Officer. The text

of Article II’s imperative sentence regarding Presidential elections does not employ the word

“power” referencing to Congress. Article II’s imperative sentence regarding Presidential elections

does not vest “power” in Congress over state legislatures’ express power to determine the manner of

appointment of Presidential electors every four years, including the post-election certification of




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Presidential electors. Therefore, the phrase "all other Powers vested by this Constitution... in any

Department or Officer thereof" is not satisfied.

        The second candidate for implied constitutional authority is Article II itself. But, similarly,

Article II supports that it is the state legislatures’ exclusive constitutional prerogative to determine

the state’s appointment of Presidential electors, including post-certification of the Presidential

electors to vote for President and Vice President. Article II’s imperative sentence regarding

Presidential elections and the Twelfth Amendment do not grant Congress any “power” over the

state legislatures’ constitutional prerogatives over Presidential electors. Instead, these constitutional

texts define a very limited and specific role for the Vice President, U.S. Senate and U.S. House of

Representatives.

        Congress’s enactment of 3 U.S.C. §§ 5, 6 and 15 goes far beyond the constitutionally-

prescribed roles for Vice President, U.S. Senate and the U.S. House of Representatives in Article II’s

imperative sentence regarding Presidential elections and the Twelfth Amendment. So, Article II’s

imperative sentence regarding Presidential elections and the Twelfth Amendment do not provide an

implied constitutional authority for 3 U.S.C. §§ 5, 6 and 15.

        Additionally, there is a textualist argument based on the negative implication. When the

Constitution provides Congressional power regarding the Presidency, it says so—twice. First, Article

II, Section 1, Clause 4 which provides that "[t]he Congress may determine the Time of chusing the

Electors, and the Day on which they shall give their Votes; which Day shall be the same throughout

the United States.” Second, the Presidential Succession Clause of Article II provides that:

        [i]n Case of the Removal of the President from Office, or of his Death, Resignation,
        or Inability to discharge the Powers and Duties of the said Office, the Same shall
        devolve on the Vice President, and the Congress may by Law provide for the Case of
        Removal, Death, Resignation or Inability, both of the President and Vice President,
        declaring what Officer shall then act as President, and such Officer shall act
        accordingly, until the Disability be removed, or a President shall be elected.




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In both of these instances, the Constitution provides Congress with express authority over a limited,

narrowly-prescribed aspect of Presidential elections. By negative implication, then, Article II’s

imperative sentence regarding Presidential elections and selection of Presidential electors every four

years does not provide implied constitutional authority for Congress to regulate the state legislatures’

post-election certifications of Presidential votes and of Presidential electors.

        Finally, the constitutional text also provides an intertextual argument. When the Constitution

provides a Congressional role in election, the Constitution says so. First, Article I’s Elections Clause

provides that "[t]he Times, Places and Manner of holding Elections for Senators and

Representatives shall be prescribed in each State by the Legislature thereof; but the Congress may at

any time by Law make or alter such Regulations, except as to the Places of chusing Senators.”

Second, The House Judging Clause provides that "[e]ach House shall be the Judge of the Elections,

Returns and Qualifications of its own Members." In both instances, the Constitution provides

Congress with express constitutional authority regarding elections involving Congress. However,

regarding Presidential electors, there is constitutional silence—no express power is granted to

Congress—because Article II empowers the state legislatures, exclusively, to govern the states’

appointments of Presidential electors.

        c. Structuralist arguments also support that 3 U.S.C. §§ 5, 6 and 15 are
           unconstitutional.

        The interpretivist’s structuralist arguments10 also support the unconstitutionality of 3 U.S.C.

§§ 5, 6 and 15.11 One Congressional researcher has defined judicial structuralism:

        Another mode of constitutional interpretation draws inferences from the design of the
        Constitution: the relationships among the three branches of the federal government
        (commonly called separation of powers); the relationship between the federal and state

10
   See, generally, Charles L. Black, Jr., Structure And Relationship In Constitutional Law (1969); Philip
Bobbit, Constitutional Fate: Theory Of The Constitution 74-92 (1982).
11
   See, generally, Vasan Kesavan, Is the Electoral Count Act Unconstitutional, 80 N.C. L. Rev. 1653, 1759-
1793 (2002).


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        governments (known as federalism); and the relationship between the government and
        the people.12

        The structure of Article II is to empower the state legislatures, not Congress or the state’s

Governors, to appoint the Presidential electors. 3 U.S.C. §§ 5, 6 and 15 violate Article II’s structure

because they empower Congress and the state’s Governors in the Presidential elector process—

excluding the state legislatures from the Presidential elector certification process.

        The structure of the Article II for Presidential elections is anti-Congress, anti-Governors and

pro-state legislatures. Article II’s imperative sentence regarding Presidential elections puts the state

legislatures in exclusive control of a state’s appointment of Presidential electors. The state

legislatures, who enact the state elections law applicable to federal elections, are identified to choose

the manner of appointment of the Presidential electors. Congress and the Governors are to have no

substantive role in the procedures of certifying Presidential electors to vote for President and Vice

President. The Federal Defendants are just there to count the Presidential electors’ votes of the

Presidential electors who have received state legislative post-election certification.

        Article II contains an anti-Congress principle, anti-Governors principle and a pro-state

legislatures principle. These principles should be brought to bear on any interpretation of Article II

and 3 U.S.C. §§ 5, 6 and 15. If these principles are applied, 3 U.S.C. §§ 5, 6 and 15 is constitutionally

unauthorized.

        1) The Anti-Congress Principle

        The Constitution mistrusts Congress in Presidential elections. This is the anti-Congress

principle of Article II. Congress is to have a limited, narrowly-prescribed role in Presidential




12
  Brandon J. Murrill, “Modes of Constitutional Interpretation” at 2, Congressional Research Service
(Mar. 15, 2018).


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elections. Congress is not to interfere with the state legislature directing the appointment of

Presidential electors. Congress is not trusted in Article II.

        First, Article II’s electoral college method of selecting a President and Vice President is a

rejection of Congressional decision-making. The Constitution replaced the Articles of Confederation

which authorized Congress to elect a President of the United States in Congress assembled—

parliamentary style. Under the Articles of Confederation, John Hanson was the first President of the

United States in Congress Assembled and served from November 5, 1781 to November 4, 1782.

The Constitution replaced that parliamentary system with the Electoral College based on the anti-

Congress principle of Article II. Article II prohibits Congress selecting the President.

        Second, Article II’s Elector Incompatibility Clause, stating that “no Senator or

Representative, or Person holding an Office or Trust of Profit under the United States, shall be

appointed as an Elector,” is a rejection of Congressional decision-making. The relevant purpose of

the Elector Incompatibility Clause is to absolutely separate the Presidential electors from Congress.

The Presidential electors are to be independent from Congress.

        2) The Anti-Governors Principle

        The Constitution mistrusts Governors in Presidential elections. This is the anti-Governors

principle of Article II. The Governors are to have no role in Presidential selection. The states’

Governors are not trusted in Article II. Article II’s electoral college method of selecting a President

and Vice President empowers the state legislatures, not the Governors.

        First, Article II’s imperative sentence regarding Presidential elections specifies “state

legislatures”—not Governors nor “state executives’—to have the power over the appointment of

Electors:

        Each State shall appoint, in such Manner as the Legislature thereof may direct, a
        Number of Electors, equal to the whole Number of Senators and Representatives to
        which the State may be entitled in the Congress…



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So, one of the purposes of Article II’s imperative sentence regarding Presidential elections was to

exclude the states’ Governors from having a role in Presidential elections.

        Second, the Electors Clause specifies that the Presidential electors are to vote in their states

and the Vice President and Congress, not the State’s Governors, would open and count the

Presidential electors’ ballots for President and Vice President:

        The Electors shall meet in their respective States, and vote by Ballot for two Persons,
        of whom one at least shall not be an Inhabitant of the same State with themselves.
        And they shall make a List of all the Persons voted for, and of the Number of Votes
        for each; which List they shall sign and certify, and transmit sealed to the Seat of the
        Government of the United States, directed to the President of the Senate. The
        President of the Senate shall, in the Presence of the Senate and House of
        Representatives, open all the Certificates, and the Votes shall then be counted.

One of the purposes of the Electors Clause was also to exclude the states’ Governors from having a

role in opening and counting the Presidential electors’ ballots.

        3) The Pro-State Legislatures Principle

        The Constitution trusts state legislatures in Presidential elections. This is the pro-state

legislatures principle of Article II. The state legislatures, not Congress nor the states’ Governors, are

to direct the selection of Presidential electors. Article II trusts state legislatures to choose

Presidential electors—even trusting them to directly elect them as was done by some state in the

1800’s.13

        First, Article II’s imperative sentence regarding Presidential elections empowers “state

legislatures”—not Congress, nor the State’s Governors—to have the power over the appointment

of Presidential electors:

        He shall hold his office during the term of four years, and, together with the Vice
        President, chosen for the same term, be elected, as follows: Each State shall appoint,
        in such Manner as the Legislature thereof may direct, a Number of Electors, equal to

13
   See, e.g., Georgia Constitution of 1798, Art. IV, sec. 2 (http://founding.com/founders-
library/government-documents/american-state-and-local-government-documents/state-
constitutions/georgia-constitution-of-1798/) (last visited: Dec. 18, 2020).


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        the whole Number of Senators and Representatives to which the State may be entitled
        in the Congress…

So, one of the purposes of Article II’s imperative sentence regarding Presidential elections was to

empower state legislatures to appoint the Presidential electors.

        Second, the Electors Clause specifies that the Presidential electors are to vote in their states

and specifies the Vice President and Congress will have limited, defined roles of opening and

counting the Presidential electors’ ballots for the election of President and Vice President:

        The Electors shall meet in their respective States, and vote by Ballot for two Persons,
        of whom one at least shall not be an Inhabitant of the same State with themselves.
        And they shall make a List of all the Persons voted for, and of the Number of Votes
        for each; which List they shall sign and certify, and transmit sealed to the Seat of the
        Government of the United States, directed to the President of the Senate. The
        President of the Senate shall, in the Presence of the Senate and House of
        Representatives, open all the Certificates, and the Votes shall then be counted.

One of the purposes of the Electors Clause was to limit and define the Vice President’s and

Congress’s role in the Electoral College process to ensure that the state legislature would have the

exclusive power to appoint the Presidential electors.

        4) Conclusion

        Structuralist arguments based on Article II support the unconstitutionality of 3 U.S.C. §§ 5, 6

and 15. Article II contains an anti-Congress principle, an anti-Governors principle and a pro-state

legislatures principle. The structure of Article II is to empower the state legislatures, not Congress or

the Governors, to appoint the Presidential electors. 3 U.S.C. §§ 5, 6 and 15 violate Article II’s

structure because they empower Congress and the state’s Governors in the Presidential elector

certification and counting process—cancelling the state legislatures out of the Presidential

certification and subsequent counting process.




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        5.      The Defendant States violate Article II by their respective constitution and
                their respective state laws—Ariz. Rev. Stat. § 16-212 (B), Ga. Code Ann. § 21-2-
                499 (B), Mich. Comp. Laws. § 168.46, Wis. Stat. § 7.70 (5) (b) and 25 Pa. Cons.
                Stat. § 3166—by cancelling state legislatures out of post-election certifications
                of Presidential votes and of Presidential electors.

        Under Article II’s imperative sentence regarding Presidential elections, the Defendant States

lack congressional authority to enact state laws which cancel their respective state legislatures out of

post-election certifications of Presidential votes and of Presidential electors—as they have done.

Arizona in Ariz. Rev. Stat. § 16-212 (B) has delegated post-election certifications to the Arizona

Secretary of State. Georgia in Ga. Code Ann.§ 21-2-499 (B) has delegated post-election certifications

to the Georgia Secretary of State and Governor. Michigan in Mich. Comp. Laws § 168.46 has

delegated post-election certifications to the Michigan State Board of Canvassers and the Governor.

Wisconsin in Wis. Stat. § 7.70 (5) (b) has delegated post-election certifications to the Wisconsin

Elections Commission. Pennsylvania in 25 Pa. Cons. Stat. § 3166 has delegated post-election

certifications to the Secretary of Commonwealth and the Governor.

        But, Article II’s imperative sentence regarding Presidential elections, and its non-delegation

doctrine, empowers the state legislatures, every four years, to “direct” post-election certification of

Presidential electors, not to delegate post-election certification, perpetually and in a wholesale

fashion, to state executive branch officials as a ministerial duty. As detailed above, there are textual

and structural arguments for these state statutes being unconstitutional. Therefore, the Court should

hold Ariz. Rev. Stat. § 16-212 (B), Ga. Code Ann.§ 21-2-499 (B), Mich. Comp. Laws § 168.46, Wis.

Stat. § 7.70 (5) (b), 25 Pa. Cons. Stat. § 3166 as an unconstitutional delegation of the state legislative

prerogative of post-election certification of Presidential voters.

        Notably, even the current state constitutions of the Defendant States fail to require the state

legislature to meet for post-election certification of the Presidential electors in violation of state

legislative constitutional duties under Article II’s imperative sentence regarding Presidential


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elections. Arizona’s, Georgia’s and Pennsylvania’s Constitutions have the state legislature adjourned

until January 2021. Arizona Const.; Georgia Const.; Pennsylvania Const. Michigan’s and

Wisconsin’s Constitutions permit the state legislature to be in session, but do not require a joint

session of the state legislature to affirmatively vote for post-election certification of Presidential

electors. Michigan Const.; Wisconsin Const.

        a. The Arizona Constitution and laws do not require state legislative post-election
           certification of Presidential electors so their votes can be constitutionally counted
           by the federal Defendants—violating voters’ rights.

        The Arizona Constitution and laws do not require state legislative post-election certification

of Presidential electors so their votes can be constitutionally counted by the federal Defendants—

violating voters’ rights. Under Article II’s imperative sentence regarding Presidential elections,

Arizona lacks legal authority to enact laws which are a perpetual and wholesale delegation of post-

election certification to state executive branch officials—as it has done. Arizona in Ariz. Rev. Stat. §

16-212 (B) has delegated certification of Presidential electors to the Arizona Secretary of State—and

has deferred to the Arizona Governor’s certification of Presidential electors under 3 U.S.C. § 6.

        But, Article II’s imperative sentence regarding Presidential elections, and its non-delegation

doctrine, empowers the Arizona state legislature to “direct” post-election certification of Presidential

electors, not to delegate post-election certification, perpetually and in a wholesale fashion, to state

executive branch officials as a ministerial duty. As detailed above, there are textual and structural

arguments for these state statutes being unconstitutional. Therefore, the Court should find that the

Arizona Constitution and Arizona laws, including Ariz. Rev. Stat. § 16-212 (B), are an

unconstitutional delegation of the Article II state legislative prerogatives of post-election

certification of Presidential votes and post-election certification of Presidential electors.




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        b. The Georgia Constitution and laws do not require state legislative post-election
           certification of Presidential electors so their votes can be constitutionally counted
           by the federal Defendants—violating voters’ rights.

        The Georgia Constitution and laws do not require state legislative post-election certification

of Presidential electors so their votes can be constitutionally counted by the federal Defendants—

violating voters’ rights. Under Article II’s imperative sentence regarding Presidential elections,

Georgia lacks legal authority to enact state laws which are a perpetual and wholesale delegation of

post-election certification to state executive branch officials—as it has done. Georgia in Ga. Code

Ann.§ 21-2-499 (B), has delegated certification of Presidential electors to the Georgia Secretary of

State and the Georgia Governor—consistent with the Georgia Governor’s certification of

Presidential electors under 3 U.S.C. § 6.

        But, Article II’s imperative sentence regarding Presidential elections, and its non-delegation

doctrine, empowers the Georgia state legislature to “direct” post-election certification of Presidential

electors, not to delegate post-election certification, perpetually and in a wholesale fashion, to state

executive branch officials as a ministerial duty. As detailed above, there are textual and structural

arguments for these state statutes being unconstitutional. Therefore, the Court should find that the

Georgia Constitution and Georgia laws, including Ga. Code Ann.§ 21-2-499 (B), are an

unconstitutional delegation of the Article II state legislative prerogatives of post-election

certification of Presidential votes and post-election certification of Presidential electors.

        c. The Michigan Constitution and laws do not require state legislative post-election
           certification of Presidential electors so their votes can be constitutionally counted
           by the federal Defendants—violating voters’ rights.

        The Michigan Constitution and laws do not require state legislative post-election certification

of Presidential electors so their votes can be constitutionally counted by the federal Defendants—

violating voters’ rights. Under Article II’s imperative sentence regarding Presidential elections,

Michigan lacks legal authority to enact state laws which are a perpetual and wholesale delegation of


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post-election certification to state executive branch officials—as it has done. Michigan in Mich.

Comp. Laws § 168.46 has delegated certification of Presidential electors to Michigan State Board of

Canvassers and Michigan Governor—consistent with the Michigan Governor’s certification of

Presidential electors under 3 U.S.C. § 6.

        But, Article II’s imperative sentence regarding Presidential elections, and its non-delegation

doctrine, empowers the Michigan state legislature to “direct” post-election certification of

Presidential electors, not to delegate post-election certification, perpetually and in a wholesale

fashion, to state executive branch officials as a ministerial duty. As detailed above, there are textual

and structural arguments for these state statutes being unconstitutional. Therefore, the Court should

find that the Michigan Constitution and Michigan laws, including Mich. Comp. Laws § 168.46, are

an unconstitutional delegation of the Article II state legislative prerogatives of post-election

certification of Presidential votes and post-election certification of Presidential electors.

        d. The Pennsylvania Constitution and laws do not require state legislative post-
           election certification of Presidential electors so their votes can be constitutionally
           counted by the federal Defendants—violating voters’ rights.

        The Pennsylvania Constitution and laws do not require state legislative post-election

certification of Presidential electors so their votes can be constitutionally counted by the federal

Defendants—violating voters’ rights. Under Article II’s imperative sentence regarding Presidential

elections, Pennsylvania lacks legal authority to enact state laws which are a perpetual and wholesale

delegation of post-election certification to state executive branch officials—as it has done.

Pennsylvania in 25 Pa. Cons. Stat. § 3166 has delegated certification of Presidential electors to the

Secretary of Commonwealth and the Pennsylvania Governor—consistent with the Pennsylvania

Governor’s certification of Presidential electors under 3 U.S.C. § 6.

        But, Article II’s imperative sentence regarding Presidential elections, and its non-delegation

doctrine, empowers the Pennsylvania state legislature to “direct” post-election certification of


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Presidential electors, not to delegate post-election certification, perpetually and in a wholesale

fashion, to state executive branch officials as a ministerial duty. As detailed above, there are textual

and structural arguments for these state statutes being unconstitutional. Therefore, the Court should

find that the Pennsylvania Constitution and Pennsylvania laws, including 25 Pa. Cons. Stat. § 3166,

are an unconstitutional delegation of the Article II state legislative prerogatives of post-election

certification of Presidential votes and post-election certification of Presidential electors.

        e. The Wisconsin Constitution and laws do not require state legislative post-election
           certification of Presidential electors so their votes can be constitutionally counted
           by the federal Defendants—violating voters’ rights.

        The Wisconsin Constitution and laws do not require state legislative post-election

certification of Presidential electors so their votes can be constitutionally counted by the federal

Defendants—violating voters’ rights. Under Article II’s imperative sentence regarding Presidential

elections, Wisconsin lacks legal authority to enact state laws which are a perpetual and wholesale

delegation of post-election certification to state executive branch officials—as it has done.

Wisconsin in Wis. Stat. § 7.70 (5) (b) has delegated certification of Presidential electors to the

Wisconsin Elections Commission—and has deferred to the Arizona Governor’s certification of

Presidential electors under 3 U.S.C. § 6.

        But, Article II’s imperative sentence regarding Presidential elections, and its non-delegation

doctrine, empowers the Wisconsin state legislature to “direct” post-election certification of

Presidential electors, not to delegate post-election certification, perpetually and in a wholesale

fashion, to state executive branch officials as a ministerial duty. As detailed above, there are textual

and structural arguments for these state statutes being unconstitutional. Therefore, the Court should

find that the Wisconsin Constitution and Wisconsin laws, including Wis. Stat. § 7.70 (5) (b), are an

unconstitutional delegation of the Article II state legislative prerogatives of post-election

certification of Presidential votes and post-election certification of Presidential electors.


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        6.      The Presidential post-election court proceedings—like Bush v. Gore, the
                Texas original action and the thirty post-election lawsuits in Defendant
                States—are in constitutional error and unnecessarily politicize the federal and
                state courts.

        The Presidential post-election court proceedings—like Bush v. Gore, the Texas original action

and the thirty post-election lawsuits in Defendant States—are in constitutional error and

unnecessarily politicize the federal and state courts. Under Article II, all of those cases should be

dismissed for lack of jurisdiction—and the plaintiffs should be instructed to file their election

contests with their respective state legislatures. The Defendant States have election contest or

recount laws, which apply to Presidential elections, but preclude state legislative certifications: Ariz.

Rev. Stat. § 16-672; Ga. Code Ann.§ 21-2-521; Mich. Comp. Laws § 168.862; Wis. Stat. § 9.01; and

25 Pa. Cons. Stat. § 3351. Interestingly, the Pennsylvania laws have a state legislative post-election

certification process for its Governor and Lieutenant Governor elections—but not for President

and Vice President. 25 Pa. Cons. Stat. § 3312, et seq. The Defendant States’ laws precluding state

legislative post-election certification in Presidential election contests and recounts violates Article II.

III.    The Plaintiffs have standing as voters because the Defendants are violating their
        voting rights to state legislative post-election certifications of their votes and of
        Presidential electors and to only the votes of Presidential electors so certified being
        counted toward the election of President and Vice President.

        As voters, the Plaintiffs have legal standing to bring these constitutional claims to ensure that

Presidential elections are constitutionally conducted by Defendants. Article III of the Constitution

limits the jurisdiction of federal courts to “Cases” and “Controversies.” U.S. Const., Art. III, § 2.

The doctrine of standing gives meaning to these constitutional limits by “identify[ing] those disputes

which are appropriately resolved through the judicial process.”5 Lujan v. Defenders of Wildlife, 504 U.S.

555, 560 (1992). “The law of Article III standing, which is built on separation-of-powers principles,

serves to prevent the judicial process from being used to usurp the powers of the political

branches.” Clapper v. Amnesty Int'l USA, 568 U.S. 398, 408 (2013). To establish Article III standing, a


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plaintiff must show (1) an “injury in fact,” (2) a sufficient “causal connection between the injury and

the conduct complained of,” and (3) a “likel[ihood]” that the injury “will be redressed by a favorable

decision.” Lujan, supra, at 560–561 (internal quotation marks omitted). Pre-enforcement

constitutional challenges must meet the same standing requirements. See Susan B. Anthony List v.

Driehaus, 573 U.S. 149, 157–58 (2014).

        The U.S. Court of Appeals for the Fourth Circuit recognized standing in Baten v. McMaster,

967 F.3d 345, 352–53 (4th Cir. 2020) for Plaintiffs alleging their votes for Democratic presidential

candidates were, in effect, discarded under South Carolina's winner-take-all process. Id, citing Gill v.

Whitford, ––– U.S. ––––, 138 S. Ct. 1916, 1920–21 (2018) (citing Baker v. Carr, 369 U.S. 186, 206

(1962)) (contrasting the individual harm felt by a voter who casts his ballot in a gerrymandered

district with the “generalized grievance” of one who disapproves of gerrymandering in his state but

does not live in a gerrymandered district). The Fourth Circuit held this type of disenfranchisement

“is the type of concrete, particularized injury that Article III contemplates.” Id. at 353.

        Similarly, the Plaintiffs claim they have been disenfranchised. The Plaintiffs claim that

Article II of the U.S. Constitution provides a voter a constitutional right to the voter’s Presidential

vote being certified as part of the state legislature’s post-election certification of Presidential electors.

Absence such certification, the Presidential electors’ votes from that state cannot be counted by the

federal Defendants toward the election of President and Vice President. Because the Plaintiffs’ votes

are not counted as part of the constitutionally-required state legislative post-election certification of

Presidential electors, the Plaintiffs are disenfranchised.

        The Defendants’ disenfranchisement of the Plaintiffs’ voting rights is that the Plaintiffs’

votes are never properly certified by the state legislature, which based on that certification, certifies

the Presidential electors whose votes are counted by the federal Defendants to elect the President

and Vice President. The Defendants’ disenfranchisement of the Plaintiffs’ voting rights is caused by



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3 U.S.C. §§ 5, 6, 15, and the Defendants’ state constitutions and state laws including Ariz. Rev. Stat.

§ 16-212 (B), Ga. Code Ann.§ 21-2-499 (B), Mich. Comp. Laws § 168.46, Wis. Stat. § 7.70 (5) (b) and

25 Pa. Cons. Stat. § 3166.

        When Defendants violate the Constitution as it relates to Presidential elections in the

Defendant States, all voters in Presidential elections suffer an injury-in-fact caused by the

Defendants. Voters in a Presidential election, in this instance, have an injury-in-fact different than

the public because they voted and they thus had an interest that the election in which they voted is

constitutionally-conducted. The same is true of future elections. Finally, the Court can redress the

Plaintiffs’ injuries by issuing a declaratory judgment and accompanying injunction to enjoin the

Defendants’ unconstitutional conduct.

        Furthermore, as voters, each Plaintiff has a fundamental right to vote.14 Thus, each Plaintiff

has a recognized protectable interest in voting. As the U.S. Supreme Court has long recognized, a

person's right to vote is “individual and personal in nature.”15 Thus, “voters who allege facts

showing disadvantage to themselves as individuals have standing to sue” to remedy that

disadvantage.16 “Safeguarding the integrity of the electoral process is a fundamental task of the

Constitution, and [the courts] must be keenly sensitive to signs that its validity may be impaired.”17

“Confidence in the integrity of our electoral processes is essential to the functioning of our

participatory democracy.”18

        By federal and state election laws, the federal and state governments have agreed to protect

the fundamental right to vote by maintaining the integrity of an election contest as fair, honest, and




14
   Reynolds v. Sims, 377 U.S. 533, 554–55, 562 (1964).
15
   Id. 377 U.S. at 561.
16
   Gill v. Whitford, 138 S. Ct. 1916, 1929 (2018).
17
   Johnson v. FCC, 829 F.2d 157, 163 (D.C. Cir. 1987).
18
   Purcell v. Gonzalez, 549 U.S. 1, 4 (2006).


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unbiased to maintain the structure of the democratic process.19 The voters, in turn, agree to accept

the government’s announcement of the winner of an election contest, including Presidential

elections, to maintain the integrity of the democratic system of the United States. “‘No right is more

precious in a free country than that of having a voice in the election of those who make the laws

under which, as good citizens, we must live.’20 But the right to vote is the right to participate in an

electoral process that is necessarily structured to maintain the integrity of the democratic system.”21

        This constitutional arrangement constitutes a “social contract” between the voter and the

government as an agreement among the people of a state about the rules that will define their

government.22 Social contract theory provided the background against which the Constitution was

adopted. “Because of this social contract theory, the Framers and the public at the time of the

revolution and framing conceived governments as resulting from an agreement among people to

provide a means for enforcing existing rights.”23 “The aim of a social contract theory is to show that

members of some society have reason to endorse and comply with the fundamental social rules,

laws, institutions, and principles of that society. Put simply, it is concerned with public justification,

i.e., ‘of determining whether or not a given regime is legitimate and therefore worthy of loyalty.’”24

        State legislative post-election certifications of Presidential votes and of Presidential electors

is part of the social contract to protect the right to vote. Hence, the right to vote is intertwined with



19
   Timmons v. Twin Cities Area New Party, 520 U.S. 351, 364 (1997) (“States certainly have an interest in
protecting the integrity, fairness, and efficiency of their ballots and election processes as means for
electing public officials.”). See also, e.g. Plts Amended Compl. ¶¶37–45.
20
   Burdick v. Takushi, 504 U.S. 428, 441 (1992) quoting Wesberry v. Sanders, 376 U.S. 1, 17 (1964).
21
   Id. (citations omitted). See also, e.g. Plts Amended Compl. ¶¶46–49.
22
  Dumonde v. U.S., 87 Fed. Cl. 651, 653 (Fed. Cl. 2009) (“Historically, the Constitution has been
interpreted as a social contract between the Government and people of the United States,” citing
Marbury v. Madison, 1 Cranch 137, 5 U.S. 137, 176 (1803). See e.g. Plts Amended Compl. ¶50.
23
   Greg Serienko, Social Contract Neutrality and the Religion Clauses of the Federal Constitution, 57 Ohio St.
L. J. 1263, 1269.
24
   Contemporary Approaches to the Social Contract, https://plto.stanford.edu/entries/contractarianism-
contemporary/ (last visited Dec. 8, 2020).


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the integrity of an election process. The loss of the integrity of the election process renders the right

to vote meaningless.25 Here, the Defendant States’ election irregularities and improprieties, including

no state legislative post-election certification of Presidential votes and of Presidential electors, so

exceed the razor-thin margins in the Defendant States to cast doubt on the razor-thin margins of

victory and, thus, threaten the social contract itself.

        The Article II social contract with the voters is, in part, the assurance of their state

legislatures voting, based on voters’ Presidential votes in that state, for post-election certification of

Presidential electors. Arising from the social contract is the integrity of the election process to

protect the voter’s right to vote.

        In the Defendant States enacting constitutions and state laws cancelling state legislatures out

of post-election certifications of Presidential votes and of Presidential electors, the Defendant states

have breached the social contract of Article II.

        This social contract, protecting the individual right to vote, is what is personally at risk for

the Plaintiffs in the outcome of this controversy. 26 As much as the government has a compelling

interest in fair and honest elections with accompanying laws and regulations to ensure that objective

to preserve the democratic system of government, so too the voter has an interest against state and

local election officials violating the election laws in favor of a pre-determined result. Under the social

contract, state legislative post-election certification of the Presidential vote is the voters’ remedy

against state and local election officials’ shenanigans. The Defendant States have unconstitutionally

deprived their voters of that remedy in their respective state legislatures.



25
   “Legitimacy is the crucial currency of government in our democratic age. Only elections that are
transparent and fair will be regarded as legitimate…But elections without integrity cannot provide
the winners with legitimacy, the losers with security and the public with confidence in their leaders
and institutions.”https://www.kofiannanfoundation.org/supporting-democracy-and-elections-with-
integrity/uganda-victory-without-legitimacy-is-no-victory-at-all/ (Last visited Dec. 8, 2020).
26
   Gill, 138 S.Ct. at 1923.


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          Furthermore, the voter has a compelling interest in the maintenance of a democratic system

of government under the Ninth Amendment through the election process, beyond controversies

regarding governmental attempts to interfere with the right to vote. Here, the voter did not enter

into a social contract with the Governors and the state and local election officials to give them

discretion for state election irregularities and improprieties—and to cancel post-election

certifications by the state legislatures—regardless of how benign the public officials might be.

          Instead, the voters’ social contract is with the state legislatures—which must under Article II

conduct post-election certification of all Presidential votes and of the Presidential electors. The

Article II requirement of the state legislature casting post-election certification votes is the voters’

constitutional “insurance policy” against the risk of Governors and state and local election officials

engaging in election irregularities and improprieties in favor of a pre-determined outcome.

          The voters have been willing to accept federal and state laws and regulations imposed upon a

Presidential election process to serve the government’s compelling interest in the integrity of that

process. So, while it is fair for the government to create public governmental regulatory schemes to

promote the compelling interests to protect the right to vote, and therefore, to protect a voter’s right

of associational choices under the First Amendment,27 those rights are infringed when the

Defendant States cancel the state legislatures out of post-election certifications of Presidential votes

and of the Presidential electors.28

          For Presidential elections, the Defendant States under Article II have no legal authority to

cancel state legislatures out of post-election certifications of Presidential votes and of Presidential

electors. Yet, they did. That is the harm for the voters. Article II’s imperative sentence regarding

Presidential elections that gives voters the right to have their respective state legislatures engage in



27
     Anderson v. Celebrezze, 460 U.S. 780, 788–89 (1983).
28
     Id.


                                                     41
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post-election certifications of Presidential votes and of Presidential electors—not Governors nor

state or local election officials.

         This lawsuit is not about voter fraud. The harm from the federal law—3 U.S.C. §§ 5, 6, 15—

and the state laws—including Ariz. Rev. Stat. § 16-212 (B), Ga. Code Ann.§ 21-2-499 (B), Mich.

Comp. Laws § 168.46, Wis. Stat. § 7.70 (5) (b) and 25 Pa. Cons. Stat. § 3166—is the loss of a voter

remedy of state legislative post-election certifications required as a core governmental function under

Article II.

         In turn, the Federal Defendants’ acceptance of the Presidential electors’ votes without state

legislative post-election certification of Presidential electors breaches the social contract between the

voter and the government—causing more injury to the voter.

         Finally, these injuries to the voters are redressable by the Court. For example, the Court

could grant the requested preliminary injunction requiring that the federal Defendants on January 6,

2021, only count the votes of Presidential electors if they have received state legislative post-election

certification. Otherwise, the votes don’t count toward the election of President and Vice President.

IV.      The Plaintiffs are likely to suffer irreparable harm in the absence of preliminary relief.

         “Plaintiffs here must at least ‘demonstrate that irreparable injury is likely in the absence of an

injunction.’” Guttenberg v. Emery, 26 F.Supp.3d 88, 101 (D.D.C. 2014)(quoting Winter v. NRDC, Inc.,

555 U.S. 7, 22 (2008)). “Under Winter, even a ‘strong likelihood of prevailing on the merits’ cannot

make up for a deficient showing of irreparable injury.” Id. (quoting Winter, 555 U.S. at 21–22).

“Regardless of how the other three factors are analyzed, it is required that the movant demonstrate

an irreparable injury.” Mdewakanton Sioux Indians of Minn. v. Zinke, 255 F.Supp.3d 48, 51, n.3 (D.D.C.

2017).

         The Plaintiffs’ irreparable injury here is the disenfranchisement of Plaintiffs’ vote when the

Presidential electors’ votes are counted without constitutionally-required state legislative post-



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election certifications of the Plaintiffs’ votes and of the Presidential electors. The federal and state

constitutions and laws are a violation of Article II’s imperative sentence regarding Presidential

elections. Further, without state legislative post-election certification, Plaintiffs will never have their

votes counted in the state legislature.

          Further, the Plaintiffs will never have the same opportunity to challenge in their state

legislatures the election officials’ irregularities and illegalities associated with the November 3, 2020

election. Allegedly, the election officials’ irregularities and illegalities exceed the razor-thin margins in

the Defendant States. Absent the injunction, the Plaintiffs will never have their proverbial “day” in

the state legislature to challenge the Presidential election results.

          In turn, the Plaintiffs will be subjected to an unlawfully-elected President because none of

the Presidential electors received a state legislative post-election certification—as Article II requires.

          In the absence of the preliminary injunction, the Plaintiffs and the nation will be subjected to

a post-inaugural ouster of the sitting President and Vice President under D.C. Code § 16-3501, et

seq. That proceeding and subsequent ouster will cause irreparable injury to the Plaintiffs—and the

nation.

V.        The balance of equities and the public interest tips in the Plaintiffs’ favor.

          The final two factors that the Court must consider are the balance of equities and the

public's interest in the issuance of an injunction. See Arkansas Dairy Co-op Ass'n, Inc. v. U.S. Dep't of

Agric., 573 F.3d 815, 821 (D.C. Cir. 2009). When “balanc[ing] the competing claims of injury,” the

Court must “consider the effect on each party of the granting or withholding of the requested

relief.” Winter, 555 U.S. at 24, 129 S.Ct. 365 (citations omitted). Additionally, “courts of equity

should [have] particular regard for the public consequences in employing the extraordinary remedy

of injunction.” Id. (internal quotation marks and citations omitted).




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         The Plaintiffs file this preliminary injunction motion to avoid a constitutional crisis that

would be involved in a post-inaugural ouster of the United States President and Vice President. D.C.

Code § 16-3501, et seq., authorizes this Court, in proper cases, instituted by proper officers or

persons, to post-election ouster of national officers of the United States including the President and

Vice President of the United States. Newman v. U.S. of America ex rel Frizzell, 238 U.S. 537 (U.S.

1915).

         Instead, to avoid that post-inaugural constitutional crisis, the Plaintiffs as voters file this

preliminary injunction motion against federal officials in the District of Columbia and Governors

and state legislative leaders in Arizona, Georgia, Michigan, Pennsylvania and Wisconsin requiring a

constitutionally-compliant process for state-by-state post-election certification of Presidential

electors and counting of their votes for the November 3, 2020 Presidential election and future

elections.

         The balancing of equities favors the Plaintiffs. Granting a preliminary injunction in this

proceeding is better for everyone than a post-inaugural ouster. If the preliminary injunction is

denied, the Plaintiffs lose something real and concrete: their voting rights are disenfranchised by an

unconstitutional post-election certification process. The Plaintiffs also lose their post-election

opportunity in their respective state legislatures to seek election integrity and protect their vote. On

the other hand, the Defendants lose nothing by doing what the law requires: following Article II’s

imperative sentence regarding Presidential elections and obtaining state legislative post-election

certifications prior to counting the Presidential electors’ votes for President and Vice President on

January 6, 2021.

         The public interest favors granting the preliminary injunction too. The constitutional crisis

of post-inaugural ouster should be avoided. The United States, the federal government and the

states, should operate in every subject area in a constitutional way. State legislative post-election



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certifications of Presidential votes and Presidential electors is constitutionally-required. So, the

federal government and the states are legally obligated to honor that constitutional authority.

        State legislative post-election certification of Presidential electors is an important way to

develop public acceptance of close Presidential election results. State legislative post-election

certification would help build public confidence in the states’ voting systems too. Every four years,

the state legislatures would be authorized to examine Presidential voters and voters’ complaints as

part of their post-election certifications—and would make electoral reforms accordingly.

Consequently, the state legislatures’ direct involvement in election integrity would build public

confidence in the voting system reducing the amount of Presidential election litigation which now

seems to be occurring in a cycle of every four years. It is far better to have the state legislatures hear

election disputes state-by-state, as intended in Article II, then the United States Supreme Court hear

all the states’ election disputes as proposed in the Texas original action against Pennsylvania,

Michigan, Wisconsin and Georgia—which was supported by Missouri and sixteen other states and

U.S. Representative Mike Johnson and 105 other Congressional members.

                                            CONCLUSION

        The Court should issue the preliminary injunction prior to January 6, 2021, when federal

Defendants meet to count the Presidential electors to elect a President and Vice President, because

the Plaintiffs have met the factors required.


 Dated: December 22, 2020                             /s/Erick G. Kaardal
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